Case 1:12-cv-00203-CKK-BMK-JDB Document 207-2 Filed 08/20/12 Page 1 of 8

Exhibit 2

Case 1:12-cv-00203-CKK-BMK-JDB Document 207-2 Eiled 08/20/12 Page 2 of 8
Case 1:12-cv-00128-RMC-DST-RLW Document 128 Filed 05/21/12 Page 1 of 7

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

)
STATE OF TEXAS, )
)
Plaintiff, )
)
Vv. ) Civil Action No. 12-128
) (DST, RMC, RLW)
ERIC H. HOLDER, JR., )
)
Defendant. )
)
ORDER

The United States has moved to compel the production of three categories of
documents: (1) documents held by the Office of the Governor over which Texas asserts a
deliberative process privilege; (2) documents held by the Department of Public Safety (“DPS”)
and the Office of the Secretary of State (“SoS”) over which Texas asserts a state legislative
privilege; and (3) documents held by the Texas Legislative Council (“TLC”) over which Texas
asserts an attorney-client privilege. Texas may well, as described below, have one or more
privileges to assert. Unfortunately, Texas has failed to provide sufficient and complete privilege
logs on which any such privileges may be analyzed. Texas will be granted 48 hours from the
time this Order is posted to complete and submit proper privilege logs to the United States and
this Court or, pursuant to this Order, the privileges will be deemed waived. At this time, the

Court will grant the motion of the United States in part and deny it in part without prejudice.

Case 1:12-cv-00203-CKK-BMK-JDB Document 207-2. Filed 08/20/12 Page 3 of 8
Case 1:12-cv-00128-RMC-DST-RLW Document 128 Filed 05/21/12 Page 2 of 7

I. Office of the Governor: Deliberative Process Privilege

The deliberative process privilege “covers documents reflecting advisory
opinions, recommendations and deliberations comprising part of a process by which
governmental decisions and policies are formulated.” Dep ’t of the Interior v. Klamath Water
Users Protective Ass’n, 532 U.S. 1, 8 (2001) (internal quotations omitted). The purpose of the
privilege is to enhance the quality of agency decisions by promoting open, candid, and frank
discussions among decision makers without fear that those discussions will become “front page
news.” Jd. at 1066. A document must be both “predecisional” and “deliberative” to be covered
by the privilege. In re Sealed Case, 121 F.3d 729, 737 (D.C. Cir. 1997). “A document is
‘predecisional’ if it precedes, in temporal sequence, the ‘decision’ to which it relates.
Accordingly, to approve exemption of a document as predecisional, a court must be able to
pinpoint an agency decision or policy to which the document contributed.” Senate of the Com. of
Puerto Rico on Behalf of Judiciary Comm. v. United States Dept. of Justice, 823 F.2d 574, 585
(D.C. Cir. 1987). The document is “deliberative” if “it reflects the give-and-take of the
consultative process.” Jd. The deliberative process privilege is qualified and will yield to a
sufficient showing of need. Jd.

The United States contends that no deliberative process privilege should apply at
all because it is inapplicable when a cause of action “turns on the government’s intent.” In re
Subpoena Duces Tecum Served on the Office of the Comptroller of the Currency, 145 F.3d 1422

(D.C. Cir. 1998) (“In re Subpoena I ”) | The United States, however, misperceives the nature of

' As Texas points out, the holding in Jn re Subpoena I was narrowed on a petition for rehearing.
See In re Subpoena Duces Tecum Served on the Office of the Comptroller of the Currency, 156
F.3d 1279 (D.C. Cir. 1998) (“In re Subpoena IT’), On petition for rehearing, the Court clarified
that “our holding that the deliberative process privilege is unavailable is limited to those
circumstances in which the cause of action is directed at the agency’s subjective motivation.” Id.
at 1280.

Case 1:12-cv-00203-CKK-BMK-JDB Document 207-2 Filed 08/20/12 Page 4 of 8
Case 1:12-cv-00128-RMC-DST-RLW Document 128 Filed 05/21/12 Page 3 of 7

“government intent” at issue in a Section 5 case. Section 5 is “directed at,” In re Subpoena II at
1280, and “turns on,” Jn re Subpoena I at 1424, overall legislative purpose and not the purpose or
motivation of individual actors. Thus, as the Court has recently directed, legislators and staff are
required to testify about general legislative purpose but not individual intent. See May 17, 2012
Order [Dkt. #122]. Similarly, the Governor’s “subjective motivation,” Jn re Subpoena II at
1280, in facilitating the bill’s passage is not discoverable. If Texas provides sufficient detail to
affirm a gubernatorial deliberative process over the withheld documents, those documents need
not be produced.”

Unfortunately, Texas has failed to provide a privilege log sufficient to allow the
Court to decide whether the documents from the Office of the Governor are entitled to protection
under the deliberative process privilege. See, e.g., N.L.R.B. v. Jakson Hosp. Corp., 257 F.R.D.
302, 309 (D.D.C. 2009) (“the Court . . . must be able to determine, from the privilege log, that
the documents withheld are (1) pre-decisional; (2) deliberative; (3) do not ‘memorialize or
evidence’ the agency’s final policy; (4) were not shared with the public; and (5) cannot be
produced in redacted form.”). The majority of the documents Texas withheld are merely
described as “bill analyses” of differing bills from differing legislative sessions. Texas offers
neither more precise descriptors nor any connection to a specific decision by the Governor, nor is
there any evidence that the documents reflect “deliberative” communications as they do not
appear to be shared or discussed with anyone.’ Texas has, accordingly, failed to demonstrate

that the documents are either “deliberative” or “predecisional.” See Senate of the Com. of Puerto

* Although the deliberative process privilege is qualified and will yield to a sufficient showing of
need, the United States has failed to establish such a showing.

> The vast majority of the documents withheld under the deliberative process privilege list “N/A”
under the recipient column.

Case 1:12-cv-00203-CKK-BMK-JDB Document 207-2 Filed 08/20/12 Page 5of 8
Case 1:12-cv-00128-RMC-DST-RLW Document128 Filed 05/21/12 Page 4 of 7

Rico, 823 F.2d at 585 (agency must pinpoint the decision or policy to which a document
contributed). Texas will have 48 hours to supplement its log.

Il. DPS and SoS: State Legislative Privilege

The Court has already held that “[t}he state legislative privilege is well grounded
in Supreme Court case law” although the “contours of the privilege remain somewhat uncertain.”
April 20, 2012 Order [Dkt. # 84] at 1-2. The Court anticipates additional briefing on state
legislative privilege following the deposition of State legislators that began on May 14, 2012,
and the United States also may seek to compel the production of TLC documents withheld on the
basis of state legislative privilege. See Reply U.S. Mot. to Compel [Dkt. # 104] at 10 n.11.
Given that these outstanding issues have not yet been briefed, the Court finds it prudent to refrain
from ruling on the state legislative privilege piecemeal and instead will deny this portion of the
motion to compel without prejudice.

The Court, however, has no difficulty ruling that if an individual legislator has
waived the legislative privilege, any documents withheld on the basis of that privilege must be
produced. Accordingly, to the extent Senator Davis, Senator Gallegos, Senator Van de Putte,
Representative Farias, Representative Giddings, and/or Representative Vaught have not asserted
a legislative privilege, Texas must produce the documents being withheld on the basis of
legislative privilege with respect to these legislators.* Similarly, Texas must produce all
documents for which it asserted a legislative privilege without connection to a legislator, as

lacking entirely any basis for the asserted privilege.

* While briefing refers to a “state” legislative privilege, the nomenclature only distinguishes it
from a federal privilege. The privilege belongs to individual members of the State legislature,
not to the State of Texas.

Case 1:12-cv-00203-CKK-BMK-JDB Document 207-2 Filed 08/20/12 Page 6 of 8
Case 1:12-cv-00128-RMC-DST-RLW Document 128 Filed 05/21/12 Page 5 of 7

UW. TLC: Attorney-Client Privilege

When asserting attorney-client privilege, a privilege log should include “(a) the
attorney and client involved, (b) the nature of the document, (c) all persons or entities shown on
the document to have received or sent the document, (d) all persons or entities known to have
been furnished the document or informed of its substance, and (e) the date the document was
generated, prepared, or dated.” Alexander v. F.B.I., 186 F.R.D. 102, 106 (D.D.C. 1998) (quoting
In re Grand Jury Investigation, 974 F.2d 1068, 1071 (9th Cir.1992)). The privilege log
submitted by Texas for the TLC falls well short of this standard. Amongst other omissions,
nearly all of the withheld documents simply list “TLC” as either the sender or recipient of the
communication, The TLC, however, is comprised of the Lieutenant Governor, the Speaker of
the State House of Representatives, the Chair of the State House Administration Committee, six
State senators and five other members of the State House of Representatives. Tx. Gov’t Code §
323.001(b). Itis unclear whether “TLC” referred to in the privilege logs is one of these
individuals, a staff attorney in one of TLC’s five divisions (only one of which is clearly legal in
nature), or even a non-attorney staff member. Because the Court cannot even determine whether
an attorney sent or received the allegedly privileged communication, let alone whether the
attorney was acting as an attorney with respect to that communication and providing some type
of legal service, the Court is unable to determine the propriety of the claimed privilege. See In re
Sealed Case, 737 F.2d 94, 98-99 (D.C. Cir. 1984).

Texas has also withheld email communications “among Secretary of State Staff
and attorneys.” TLC Privilege Log at 1. Presumably the “attorneys” are TLC attorneys although
the log is not entirely clear. Texas, however, has failed to make any argument that

communications between TLC attorneys and Secretary of State staff are covered by the attorney-

Case 1:12-cv-00203-CKK-BMK-JDB Document 207-2 Filed 08/20/12 Page 7 of 8
Case 1:12-cv-00128-RMC-DST-RLW Document 128 Filed 05/21/12 Page 6 of 7

client privilege and the Court will order the production of these documents. See Texas’ Opp’n to
Mot. to Compel [Dkt. # 98] at 11-20; Hopkins v. Women's Div., Bd. of Global Ministries, 238
F.Supp.2d 174, 178 (D.D.C. 2002) (if a party fails to rebut an argument in opposition, the Court
may deem it waived).

Finally, Texas argues that many of the withheld TLC documents are covered by a
state legislative privilege in addition to an attorney-client privilege. To the extent a TLC
employee is engaged in a “legislative act[]” that would have be “privileged if performed by the
[legislator] personally,” Gravel v. U.S.,408 U.S. 606, 616 (1972), Texas has a strong argument
that the communications are privileged. The United States, however, did not move to compel the
production of documents that were withheld under a state legislative privilege, only those
withheld under an attorney-client privilege. In the absence of a motion seeking to compel their
production, the Court will not determine the extent to which each of the claimed documents is
appropriately covered by the privilege.

It is hereby ORDERED that the United States’ motion to compel [Dkt. # 93] is
GRANTED in part and DENIED without prejudice in part; and it is

FURTHER ORDERED that Texas shall produce (to the Court and the United
States) a complete and sufficient Office of Governor’s Privilege Log by no later than 6:00 p.m.
EST May 23, 2012; and it is

FURTHER ORDERED that Texas shall produce all documents withheld on the
basis of legislative privilege where (1) no specific legislator asserting the privilege is identified
in its privilege log, and (2) the specific legislators identified have not asserted a legislative

privilege. These documents shall be produced no later than May 23, 2012; and it is

(Base FAD -OOTDE-RMC-OST-REW Document 128 Filed OSL Page oPr

FURTHER ORDERED that Texas shall produce (to the Court and the United
States) a complete and sufficient TLC Privilege Log by no later than 6:00 p.m. EST May 23,
2012; and it is

FURTHER ORDERED that the documents withheld on the basis of attorney-
client privilege between TLC attorneys and Secretary of State Staff (TX_00032285 —
TX_00032290) be produced no later than May 23,2012; and it is

FURTHER ORDERED that failure to timely submit a complete and sufficient
Office of the Governor and TLC privilege log for any of the documents withheld shall be
deemed a waiver of the asserted privilege such that the documents must be produced; and it is

FURTHER ORDERED that to the extent the United States seeks to compel the
production of additional documents after it receives the updated privilege logs, it file its motion
no later than May 25, 2012. Texas shall respond no later than May 29, 2012, and the United

States may reply no later than May 30, 2012.

Date: May 21, 2012 /s/
DAVID S. TATEL
United States Circuit Judge

/s/
ROSEMARY M. COLLYER
United States District Judge

/s/
ROBERT L. WILKINS
United States District Judge

